Case 2:23-cv-03885-CCC-LDW Document 80-3 Filed 12/29/23 Page 1 of 2 PageID: 3662




  December 6, 2023

  Hon. Renée Marie Bumb
  Chief Judge
  United States District Court for the District of New Jersey
  4th & Cooper Streets
  Camden, NJ 08101

  Dear Chief Judge Bumb:

  As Chair of the New York State Senate Judiciary Committee, I am writing to share my concerns about the
  ability of U.S. District Judge Brian R. Martinotti to fairly and impartially adjudicate two cases currently
  before the court concerning the New York Central Business District Tolling program: New Jersey v. U.S.
  Department of Transportation, No. 2:23-cv-03885 (D.N.J. July 1, 2023), and Sokolich v. U.S. Department of
  Transportation, No. 2:23-cv-21728 (D.N.J. Nov. 1, 2023). Judge Martinotti should recuse himself from both
  of these cases.

  First, Judge Martinotti should recuse himself based on the close political ties between his spouse, Cliffside
  Park Councilwoman Dana Martinotti, and Phil Murphy, the Governor of the State of New Jersey, the
  plaintiff in New Jersey v. U.S. Department of Transportation. On April 15, 2021, Governor Murphy appointed
  Councilwoman Martinotti as a Commissioner of the Port Authority of New York and New Jersey (the
  “Port Authority”).1 When Councilwoman Martinotti left the Port Authority in 2022, it was speculated that
  she would “likely to move to a different role in the Murphy administration”and was replaced by
  Governor Murphy’s Chief of Staff George Helmy, demonstrating the extremely close political ties
  between Governor Murphy and his appointees to the Port Authority, including Councilwoman
  Martinotti.2

  As you know, Canon 2 of the Code of Conduct for United States Judges (the “Code”) states that federal
  judges should “avoid impropriety and the appearance of impropriety in all activities.”3 The appearance of
  impropriety “occurs when reasonable minds, with knowledge of all the relevant circumstances disclosed
  by a reasonable inquiry, would conclude that the judge’s honesty, integrity, impartiality, temperament, or
  fitness to serve as a judge is impaired.”4 Further, an advisory opinion of the Committee on Codes of
  Conduct of the Judicial Conference states that “[w]hen a spouse’s business relationships with a party, law


  1
    “Governor Murphy Announces Nominations for Port Authority of New York and New Jersey Board of
  Commissioners,” nj.gov, April 15, 2021, available at
  https://www.nj.gov/governor/news/news/562021/20210415a.shtml (last accessed December 6, 2023).
  2
    Joey Fox, “Helmy, Kelley, Bollwage Confirmed to Seats on Port Authority Board,” New Jersey Globe, February 27,
  2023, and Sophie Nieto-Munoz, “Murphy Staffers, Elizabeth Mayor Approved to Sit on Port Authority Board,” New
  Jersey Monitor, February 28, 2023.
  3
    “Code of Conduct for United States Judges” (effective March 12, 2019), 3, United States Courts, available at
  https://www.uscourts.gov/sites/default/files/code_of_conduct_for_united_states_judges_effective_march_12_2019
  .pdf (last accessed November 13, 2023).
  4
    Id. at 4.
Case 2:23-cv-03885-CCC-LDW Document 80-3 Filed 12/29/23 Page 2 of 2 PageID: 3663
  Hon. Renée Marie Bumb
  December 6, 2023
  Page 2


  firm, or attorney appearing before the judge cause the judge’s impartiality reasonably to be questioned,
  the judge must recuse, absent remittal.”5

  Councilwoman Martinotti’s former role as a Port Authority Commissioner, in addition to her public and
  political association with Governor Murphy threatens to create an appearance of impropriety on the part
  of Judge Martinotti in New Jersey v. USDOT and thus requires him to recuse himself in this case.

  Second, Judge Martinotti should recuse himself as a party to the case Sokolich v. USDOT because he and
  his spouse are members of the alleged class in that caseJudge Martinotti and his spouse Councilwoman
  Martinotti are both government officials residing in Bergen County, New Jersey. The plaintiffs in Sokolich
  purport to represent all “government officials and residents of Bergen County and the area surrounding
  the George Washington Bridge,”6 making Judge Martinotti and Councilwoman Martinotti parties to this
  class. According to Canon 3C(1)(d) of the Code, when judges are “a party to the proceeding,” their
  impartiality might reasonably be questioned and therefore they must recuse.7

  The urgency of Judge Martinotti to recuse himself in these cases is compounded by the judge’s troubling
  history of recusal violations. According to a 2021 investigation into financial conflict disclosures in the
  federal judiciary, Judge Martinotti oversaw 44 cases involving companies in which he had a financial
  interest, earning him the dubious distinction of having the third most recusal violations of any federal
  judge in the country.8 This record raises serious questions about Judge Martinotti’s willingness to
  appropriately disqualify himself from these proceedings in accordance with the Code.

  When my colleagues and I in the New York State Legislature approved legislation establishing the
  Central Business District Tolling program in 2019, we did so on the promise that congestion pricing
  would ease traffic, reduce carbon emissions, improve street safety and bolster mass transit. To protect the
  integrity of any judicial review of a program so vital to the tri-state region, these cases must be overseen
  by a fair and impartial judge whose probity is beyond reproach. Unfortunately, for the reasons outlined
  above, Judge Martinotti is not that jurist. If Judge Martinotti does not recuse himself, I urge you to
  remove these cases from his purview.

  Thank you for your consideration of this request. Please contact me at (212) 633-8052 if you have any
  questions.

  Sincerely yours,


  Brad Hoylman-Sigal
  NYS Senator - 47th District



  cc:
  Hon. Brian R. Martinotti
  United States District Judge for the District of New Jersey

  5
    Advisory Opinion No. 107: Disqualification Based on Spouse’s Business Relationship, Committee on Codes of
  Conduct of the Judicial Conference, June 2009, available at
  https://www.uscourts.gov/sites/default/files/guide-vol02b-ch02_0.pdf (last accessed December 6, 2023)
  6
    Complaint, Sokolich v. U.S. Department of Transportation, No. 2:23-cv-21728 (D.N.J. Nov. 1, 2023).
  7
    “Code of Conduct for United States Judges” (effective March 12, 2019), United States Courts.
  8
    James V. Grimaldi, Coulter Jones, and Joe Palazzolo, “131 Federal Judges Broke the Law by Hearing Cases Where
  They Had a Financial Interest,” Wall Street Journal, September 28, 2021.
